                                                                    Electronically Filed - Taney - April 13, 2018 - 11:06 AM
                                                  1846-CC00074




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                                                        EXHIBIT
Case 6:18-cv-03155-BP Document 1-1 Filed 05/15/18 Page 11 of 21 A
               IN THE 46TH JUDICIAL CIRCUIT COURT, TANEY COUNTY, MISSOURI

 Judge or Division:                                             Case Number: 1846-CC00074
 TONY W. WILLIAMS
 Plaintiff/Petitioner:                                          Plaintiff’s/Petitioner’s Attorney/Address:
 BIGFOOT ON THE STRIP, LLC                                      BRYAN DANE FISHER
                                                                1949 EAST SUNSHINE SUITE 1-130
                                                         vs.    SPRINGFIELD, MO 65804
 Defendant/Respondent:                                          Court Address:
 RANDY WINCHESTER                                               266 MAIN STREET
 Nature of Suit:                                                PO BOX 129
                                                                FORSYTH, MO 65653
 CC Other Tort                                                                                                                          (Date File Stamp)

                         Summons for Personal Service Outside the State of Missouri
                                                         (Except Attachment Action)
    The State of Missouri to: RANDY WINCHESTER
                              Alias:
  36 EAST 2200TH ROAD
  WELLSVILLE, KS 66092


     COURT SEAL OF
                                    You are summoned to appear before this court and to file your pleading to the petition, copy of which is attached,
                                 and to serve a copy of your pleading upon the attorney for the Plaintiff/Petitioner at the above address all within 30
                                 days after service of this summons upon you, exclusive of the day of service. If you fail to file your pleading,
                                 judgment by default will be taken against you for the relief demanded in this action.
                                            04/16/2018                                                  /s/ Beth Wyman,tm
                                  ________________________________________                 ____________________________________________________
                                                      Date                                                         Clerk
      TANEY COUNTY               Further Information:
                                                    Officer’s or Server’s Affidavit of Service
     I certify that:
     1. I am authorized to serve process in civil actions within the state or territory where the above summons was served.
     2. My official title is _______________________________________ of ______________________ County, _________________ (state).
     3. I have served the above summons by: (check one)
                   delivering a copy of the summons and a copy of the petition to the Defendant/Respondent.
                   leaving a copy of the summons and a copy of the petition at the dwelling place or usual abode of the Defendant/Respondent with
                    _________________________________, a person of the Defendant’s/Respondent’s family over the age of 15 years.
                  (for service on a corporation) delivering a copy of the summons and a copy of the petition to
                    _____________________________________________ (name) _____________________________________________ (title).
                  other (describe) ________________________________________________________________________________________.
     Served at _____________________________________________________________________________________________________________ (address)
     in __________________________ County, ____________________ (state), on ___________________ (date) at ________________ (time).
     ____________________________________________________________             ___________________________________________________________
                  Printed Name of Sheriff or Server                                            Signature of Sheriff or Server
                                 Subscribed and Sworn To me before this ___________ (day) ______________ (month) _________ (year)
                                 I am: (check one)    the clerk of the court of which affiant is an officer.
                                                      the judge of the court of which affiant is an officer.
                                                      authorized to administer oaths in the state in which the affiant served the above summons.
           (Seal)
                                                       (use for out-of-state officer)
                                                      authorized to administer oaths. (use for court-appointed server)
                                                                                  ___________________________________________________________
                                                                                                        Signature and Title
    Service Fees, if applicable
    Summons         $___________________
    Non Est         $___________________
    Mileage         $___________________ (_______________miles @ $ _______ per mile)
    Total           $___________________
                             See the following page for directions to clerk and to officer making return on service of summons.




                                                                              EXHIBIT
                                                                                of 21 506.500,A506.510 RSMo
OSCA (7-04) SM60 For Court Use Only: Document ID# 18-SMOS-15                      1 of 2     (1846-CC00074)                       Rules 54.06, 54.07, 54.14, 54.20;
                      Case 6:18-cv-03155-BP Document 1-1 Filed 05/15/18 Page 12
                                                          Directions to Clerk

           Personal service outside the State of Missouri is permitted only upon certain conditions set forth in Rule 54. The clerk
     should insert in the summons the names of only the Defendant/Respondent or Defendants/Respondents who are to be
     personally served by the officer to whom the summons is delivered. The summons should be signed by the clerk or deputy
     clerk under the seal of the court and a copy of the summons and a copy of the petition for each Defendant/Respondent should
     be mailed along with the original summons to the officer who is to make service. The copy of the summons may be a carbon
     or other copy and should be signed and sealed in the same manner as the original but it is unnecessary to certify that the copy
     is a true copy. The copy of the motion may be a carbon or other copy and should be securely attached to the copy of the
     summons but need not be certified a true copy. If the Plaintiff’s/Petitioner has no attorney, the Plaintiff’s/Petitioner’s address
     and telephone number should be stated in the appropriate square on the summons. This form is not for use in attachment
     actions. (See Rule 54.06, 54.07 and 54.14)



                                  Directions to Officer Making Return on Service of Summons

          A copy of the summons and a copy of the motion must be served on each Defendant/Respondent. If any
     Defendant/Respondent refuses to receive the copy of the summons and motion when offered, the return shall be prepared
     accordingly so as to show the offer of the officer to deliver the summons and motion and the Defendant’s/Respondent’s refusal
     to receive the same.

          Service shall be made: (1) On Individual. On an individual, including an infant or incompetent person not having a legally
     appointed guardian, by delivering a copy of the summons and motion to the individual personally or by leaving a copy of the
     summons and motion at the individual’s dwelling house or usual place of abode with some person of the family over 15 years
     of age, or by delivering a copy of the summons and petition to an agent authorized by appointment or required by law to receive
     service of process; (2) On Guardian. On an infant or incompetent person who has a legally appointed guardian, by delivering a
     copy of the summons and motion to the guardian personally; (3) On Corporation, Partnership or Other Unincorporated
     Association. On a corporation, partnership or unincorporated association, by delivering a copy of the summons and motion to
     an officer, partner, or managing or general agent, or by leaving the copies at any business office of the Defendant/Respondent
     with the person having charge thereof or by delivering copies to its registered agent or to any other agent authorized by
     appointment or required by law to receive service of process; (4) On Public or Quasi-Public Corporation or Body. Upon a
     public, municipal, governmental or quasi-public corporation or body in the case of a county, to the mayor or city clerk or city
     attorney in the case of a city, to the chief executive officer in the case of any public, municipal, governmental, or quasi-public
     corporation or body or to any person otherwise lawfully so designated.

        Service may be made by an officer or deputy authorized by law to serve process in civil actions within the state or territory
     where such service is made.

          Service may be made in any state or territory of the United States. If served in a territory, substitute the word “territory”
     for the word “state.”

          The office making the service must swear an affidavit before the clerk, deputy clerk, or judge of the court of which the
     person is an officer or other person authorized to administer oaths. This affidavit must state the time, place, and manner of
     service, the official character of the affiant, and the affiant’s authority to serve process in civil actions within the state or
     territory where service is made.

          Service must not be made less than ten days nor more than 30 days from the date the Defendant/Respondent is to appear in
     court. The return should be made promptly and in any event so that it will reach the Missouri Court within 30 days after
     service.




                                                                              EXHIBIT
                                                                                of 21 506.500,A506.510 RSMo
OSCA (7-04) SM60 For Court Use Only: Document ID# 18-SMOS-15               2 of 2    (1846-CC00074)                  Rules 54.06, 54.07, 54.14, 54.20;
                      Case 6:18-cv-03155-BP Document 1-1 Filed 05/15/18 Page 13
               IN THE 46TH JUDICIAL CIRCUIT COURT, TANEY COUNTY, MISSOURI

 Judge or Division:                                             Case Number: 1846-CC00074
 TONY W. WILLIAMS
 Plaintiff/Petitioner:                                          Plaintiff’s/Petitioner’s Attorney/Address:
 BIGFOOT ON THE STRIP, LLC                                      BRYAN DANE FISHER
                                                                1949 EAST SUNSHINE SUITE 1-130
                                                         vs.    SPRINGFIELD, MO 65804
 Defendant/Respondent:                                          Court Address:
 RANDY WINCHESTER                                               266 MAIN STREET
 Nature of Suit:                                                PO BOX 129
                                                                FORSYTH, MO 65653
 CC Other Tort                                                                                                                          (Date File Stamp)

                         Summons for Personal Service Outside the State of Missouri
                                                         (Except Attachment Action)
    The State of Missouri to: DANCING COW FARMS
                              Alias:
  ATTN: EMILY WINCHESTER
  36 EAST 2200TH ROAD
  WELLSVILLE, KS 66092
     COURT SEAL OF
                                    You are summoned to appear before this court and to file your pleading to the petition, copy of which is attached,
                                 and to serve a copy of your pleading upon the attorney for the Plaintiff/Petitioner at the above address all within 30
                                 days after service of this summons upon you, exclusive of the day of service. If you fail to file your pleading,
                                 judgment by default will be taken against you for the relief demanded in this action.
                                              04/16/2018                                                 /s/ Beth Wyman,tm
                                  ________________________________________                 ____________________________________________________
                                                      Date                                                         Clerk
      TANEY COUNTY               Further Information:
                                                    Officer’s or Server’s Affidavit of Service
     I certify that:
     1. I am authorized to serve process in civil actions within the state or territory where the above summons was served.
     2. My official title is _______________________________________ of ______________________ County, _________________ (state).
     3. I have served the above summons by: (check one)
                   delivering a copy of the summons and a copy of the petition to the Defendant/Respondent.
                   leaving a copy of the summons and a copy of the petition at the dwelling place or usual abode of the Defendant/Respondent with
                    _________________________________, a person of the Defendant’s/Respondent’s family over the age of 15 years.
                  (for service on a corporation) delivering a copy of the summons and a copy of the petition to
                    _____________________________________________ (name) _____________________________________________ (title).
                  other (describe) ________________________________________________________________________________________.
     Served at _____________________________________________________________________________________________________________ (address)
     in __________________________ County, ____________________ (state), on ___________________ (date) at ________________ (time).
     ____________________________________________________________             ___________________________________________________________
                  Printed Name of Sheriff or Server                                            Signature of Sheriff or Server
                                 Subscribed and Sworn To me before this ___________ (day) ______________ (month) _________ (year)
                                 I am: (check one)    the clerk of the court of which affiant is an officer.
                                                      the judge of the court of which affiant is an officer.
                                                      authorized to administer oaths in the state in which the affiant served the above summons.
           (Seal)
                                                       (use for out-of-state officer)
                                                      authorized to administer oaths. (use for court-appointed server)
                                                                                  ___________________________________________________________
                                                                                                        Signature and Title
    Service Fees, if applicable
    Summons         $___________________
    Non Est         $___________________
    Mileage         $___________________ (_______________miles @ $ _______ per mile)
    Total           $___________________
                             See the following page for directions to clerk and to officer making return on service of summons.




                                                                              EXHIBIT
                                                                                of 21 506.500,A506.510 RSMo
OSCA (7-04) SM60 For Court Use Only: Document ID# 18-SMOS-17                      1 of 2     (1846-CC00074)                       Rules 54.06, 54.07, 54.14, 54.20;
                      Case 6:18-cv-03155-BP Document 1-1 Filed 05/15/18 Page 14
                                                          Directions to Clerk

           Personal service outside the State of Missouri is permitted only upon certain conditions set forth in Rule 54. The clerk
     should insert in the summons the names of only the Defendant/Respondent or Defendants/Respondents who are to be
     personally served by the officer to whom the summons is delivered. The summons should be signed by the clerk or deputy
     clerk under the seal of the court and a copy of the summons and a copy of the petition for each Defendant/Respondent should
     be mailed along with the original summons to the officer who is to make service. The copy of the summons may be a carbon
     or other copy and should be signed and sealed in the same manner as the original but it is unnecessary to certify that the copy
     is a true copy. The copy of the motion may be a carbon or other copy and should be securely attached to the copy of the
     summons but need not be certified a true copy. If the Plaintiff’s/Petitioner has no attorney, the Plaintiff’s/Petitioner’s address
     and telephone number should be stated in the appropriate square on the summons. This form is not for use in attachment
     actions. (See Rule 54.06, 54.07 and 54.14)



                                  Directions to Officer Making Return on Service of Summons

          A copy of the summons and a copy of the motion must be served on each Defendant/Respondent. If any
     Defendant/Respondent refuses to receive the copy of the summons and motion when offered, the return shall be prepared
     accordingly so as to show the offer of the officer to deliver the summons and motion and the Defendant’s/Respondent’s refusal
     to receive the same.

          Service shall be made: (1) On Individual. On an individual, including an infant or incompetent person not having a legally
     appointed guardian, by delivering a copy of the summons and motion to the individual personally or by leaving a copy of the
     summons and motion at the individual’s dwelling house or usual place of abode with some person of the family over 15 years
     of age, or by delivering a copy of the summons and petition to an agent authorized by appointment or required by law to receive
     service of process; (2) On Guardian. On an infant or incompetent person who has a legally appointed guardian, by delivering a
     copy of the summons and motion to the guardian personally; (3) On Corporation, Partnership or Other Unincorporated
     Association. On a corporation, partnership or unincorporated association, by delivering a copy of the summons and motion to
     an officer, partner, or managing or general agent, or by leaving the copies at any business office of the Defendant/Respondent
     with the person having charge thereof or by delivering copies to its registered agent or to any other agent authorized by
     appointment or required by law to receive service of process; (4) On Public or Quasi-Public Corporation or Body. Upon a
     public, municipal, governmental or quasi-public corporation or body in the case of a county, to the mayor or city clerk or city
     attorney in the case of a city, to the chief executive officer in the case of any public, municipal, governmental, or quasi-public
     corporation or body or to any person otherwise lawfully so designated.

        Service may be made by an officer or deputy authorized by law to serve process in civil actions within the state or territory
     where such service is made.

          Service may be made in any state or territory of the United States. If served in a territory, substitute the word “territory”
     for the word “state.”

          The office making the service must swear an affidavit before the clerk, deputy clerk, or judge of the court of which the
     person is an officer or other person authorized to administer oaths. This affidavit must state the time, place, and manner of
     service, the official character of the affiant, and the affiant’s authority to serve process in civil actions within the state or
     territory where service is made.

          Service must not be made less than ten days nor more than 30 days from the date the Defendant/Respondent is to appear in
     court. The return should be made promptly and in any event so that it will reach the Missouri Court within 30 days after
     service.




                                                                              EXHIBIT
                                                                                of 21 506.500,A506.510 RSMo
OSCA (7-04) SM60 For Court Use Only: Document ID# 18-SMOS-17               2 of 2    (1846-CC00074)                  Rules 54.06, 54.07, 54.14, 54.20;
                      Case 6:18-cv-03155-BP Document 1-1 Filed 05/15/18 Page 15
               IN THE 46TH JUDICIAL CIRCUIT COURT, TANEY COUNTY, MISSOURI

 Judge or Division:                                             Case Number: 1846-CC00074
 TONY W. WILLIAMS
 Plaintiff/Petitioner:                                          Plaintiff’s/Petitioner’s Attorney/Address:
 BIGFOOT ON THE STRIP, LLC                                      BRYAN DANE FISHER
                                                                1949 EAST SUNSHINE SUITE 1-130
                                                         vs.    SPRINGFIELD, MO 65804
 Defendant/Respondent:                                          Court Address:
 RANDY WINCHESTER                                               266 MAIN STREET
 Nature of Suit:                                                PO BOX 129
                                                                FORSYTH, MO 65653
 CC Other Tort                                                                                                                          (Date File Stamp)

                         Summons for Personal Service Outside the State of Missouri
                                                         (Except Attachment Action)
    The State of Missouri to: EMILY WINCHESTER
                               Alias:
  36 EAST 2200TH ROAD
  WELLSVILLE, KS 66092


     COURT SEAL OF
                                    You are summoned to appear before this court and to file your pleading to the petition, copy of which is attached,
                                 and to serve a copy of your pleading upon the attorney for the Plaintiff/Petitioner at the above address all within 30
                                 days after service of this summons upon you, exclusive of the day of service. If you fail to file your pleading,
                                 judgment by default will be taken against you for the relief demanded in this action.
                                              04/16/2018                                          /s/ Beth Wyman,tm
                                  ________________________________________                 ____________________________________________________
                                                      Date                                                         Clerk
      TANEY COUNTY               Further Information:
                                                    Officer’s or Server’s Affidavit of Service
     I certify that:
     1. I am authorized to serve process in civil actions within the state or territory where the above summons was served.
     2. My official title is _______________________________________ of ______________________ County, _________________ (state).
     3. I have served the above summons by: (check one)
                   delivering a copy of the summons and a copy of the petition to the Defendant/Respondent.
                   leaving a copy of the summons and a copy of the petition at the dwelling place or usual abode of the Defendant/Respondent with
                    _________________________________, a person of the Defendant’s/Respondent’s family over the age of 15 years.
                  (for service on a corporation) delivering a copy of the summons and a copy of the petition to
                    _____________________________________________ (name) _____________________________________________ (title).
                  other (describe) ________________________________________________________________________________________.
     Served at _____________________________________________________________________________________________________________ (address)
     in __________________________ County, ____________________ (state), on ___________________ (date) at ________________ (time).
     ____________________________________________________________             ___________________________________________________________
                  Printed Name of Sheriff or Server                                            Signature of Sheriff or Server
                                 Subscribed and Sworn To me before this ___________ (day) ______________ (month) _________ (year)
                                 I am: (check one)    the clerk of the court of which affiant is an officer.
                                                      the judge of the court of which affiant is an officer.
                                                      authorized to administer oaths in the state in which the affiant served the above summons.
           (Seal)
                                                       (use for out-of-state officer)
                                                      authorized to administer oaths. (use for court-appointed server)
                                                                                  ___________________________________________________________
                                                                                                        Signature and Title
    Service Fees, if applicable
    Summons         $___________________
    Non Est         $___________________
    Mileage         $___________________ (_______________miles @ $ _______ per mile)
    Total           $___________________
                             See the following page for directions to clerk and to officer making return on service of summons.




                                                                              EXHIBIT
                                                                                of 21 506.500,A506.510 RSMo
OSCA (7-04) SM60 For Court Use Only: Document ID# 18-SMOS-16                      1 of 2     (1846-CC00074)                       Rules 54.06, 54.07, 54.14, 54.20;
                      Case 6:18-cv-03155-BP Document 1-1 Filed 05/15/18 Page 16
                                                          Directions to Clerk

           Personal service outside the State of Missouri is permitted only upon certain conditions set forth in Rule 54. The clerk
     should insert in the summons the names of only the Defendant/Respondent or Defendants/Respondents who are to be
     personally served by the officer to whom the summons is delivered. The summons should be signed by the clerk or deputy
     clerk under the seal of the court and a copy of the summons and a copy of the petition for each Defendant/Respondent should
     be mailed along with the original summons to the officer who is to make service. The copy of the summons may be a carbon
     or other copy and should be signed and sealed in the same manner as the original but it is unnecessary to certify that the copy
     is a true copy. The copy of the motion may be a carbon or other copy and should be securely attached to the copy of the
     summons but need not be certified a true copy. If the Plaintiff’s/Petitioner has no attorney, the Plaintiff’s/Petitioner’s address
     and telephone number should be stated in the appropriate square on the summons. This form is not for use in attachment
     actions. (See Rule 54.06, 54.07 and 54.14)



                                  Directions to Officer Making Return on Service of Summons

          A copy of the summons and a copy of the motion must be served on each Defendant/Respondent. If any
     Defendant/Respondent refuses to receive the copy of the summons and motion when offered, the return shall be prepared
     accordingly so as to show the offer of the officer to deliver the summons and motion and the Defendant’s/Respondent’s refusal
     to receive the same.

          Service shall be made: (1) On Individual. On an individual, including an infant or incompetent person not having a legally
     appointed guardian, by delivering a copy of the summons and motion to the individual personally or by leaving a copy of the
     summons and motion at the individual’s dwelling house or usual place of abode with some person of the family over 15 years
     of age, or by delivering a copy of the summons and petition to an agent authorized by appointment or required by law to receive
     service of process; (2) On Guardian. On an infant or incompetent person who has a legally appointed guardian, by delivering a
     copy of the summons and motion to the guardian personally; (3) On Corporation, Partnership or Other Unincorporated
     Association. On a corporation, partnership or unincorporated association, by delivering a copy of the summons and motion to
     an officer, partner, or managing or general agent, or by leaving the copies at any business office of the Defendant/Respondent
     with the person having charge thereof or by delivering copies to its registered agent or to any other agent authorized by
     appointment or required by law to receive service of process; (4) On Public or Quasi-Public Corporation or Body. Upon a
     public, municipal, governmental or quasi-public corporation or body in the case of a county, to the mayor or city clerk or city
     attorney in the case of a city, to the chief executive officer in the case of any public, municipal, governmental, or quasi-public
     corporation or body or to any person otherwise lawfully so designated.

        Service may be made by an officer or deputy authorized by law to serve process in civil actions within the state or territory
     where such service is made.

          Service may be made in any state or territory of the United States. If served in a territory, substitute the word “territory”
     for the word “state.”

          The office making the service must swear an affidavit before the clerk, deputy clerk, or judge of the court of which the
     person is an officer or other person authorized to administer oaths. This affidavit must state the time, place, and manner of
     service, the official character of the affiant, and the affiant’s authority to serve process in civil actions within the state or
     territory where service is made.

          Service must not be made less than ten days nor more than 30 days from the date the Defendant/Respondent is to appear in
     court. The return should be made promptly and in any event so that it will reach the Missouri Court within 30 days after
     service.




                                                                              EXHIBIT
                                                                                of 21 506.500,A506.510 RSMo
OSCA (7-04) SM60 For Court Use Only: Document ID# 18-SMOS-16               2 of 2    (1846-CC00074)                  Rules 54.06, 54.07, 54.14, 54.20;
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                                                        EXHIBIT
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                                                        EXHIBIT
Case 6:18-cv-03155-BP Document 1-1 Filed 05/15/18 Page 19 of 21 A
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                                                        EXHIBIT
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